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  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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 11   RUSSEL SIGLER, INC.,                       Case No. 8:21-cv-01441 JLS (JDEx)
 12                  Petitioner,                 ORDER DISMISSING PETITION
                                                 TO COMPEL COMPLIANCE
 13         v.                                   WITH ARBITRATOR
                                                 SUMMONSES (Doc. 1)
 14   NORMAN S. WRIGHT CLIMATEC
      MECHANICAL EQUIPMENT OF
 15   SOUTHERN CALIFORNIA, LLC;
      ADAM HELLIWELL,
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                     Respondents.
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  1         THIS MATTER having come before the undersigned Court upon
  2   STIPULATION of the parties, IT IS HEREBY ORDERED that the Petition To
  3   Compel Compliance With Arbitrator Summonses (Doc. 1) filed by Petitioner
  4   Russell Sigler, Inc. against Respondents Norman S. Wright Climatec Mechanical
  5   Equipment of Southern California, LLC and Adam Helliwell is dismissed without
  6   prejudice with each side bearing its own costs.
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      Dated: October 12, 2021

 10                                         ______________________________
 11                                         HON. JOSEPHINE L. STATON
                                            UNITED STATES DISTRICT JUDGE
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